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 4   Attorney for Defendant
     RONALD GROVES
 5
 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          Case No. 2:07-CR-0229 FCD
11                                 Plaintiff,           STIPULATION AND ORDER TO
                                                        CONTINUE TRIAL CONFIRMATION
12          vs.                                         HEARING AND JURY TRIAL AND TO
                                                        EXCLUDE TIME PURSUANT TO THE
13   RONALD GROVES,                                     SPEEDY TRIAL ACT
14   DONALD MANN,
15                                 Defendants.
16
17          IT IS HEREBY STIPULATED by and between the parties hereto through their
18   respective counsel, Steve Lapham, Assistant United States Attorney, attorney for plaintiff, Olaf
19   Hedberg, attorney for Donald Mann and Michael E. Hansen, attorney for defendant Ronald
20   Groves, that the previously-scheduled trial confirmation hearing date of December 13, 2010, be
21   vacated, and the matter set for trial confirmation hearing on May 2, 2011, at 10:00 a.m.
22   Additionally, the parties stipulate to vacate the January 11, 2011 jury trial date and reset for
23   jury trial on May 24, 2011, at 9:00 a.m.
24          This continuance is requested to allow counsel additional time to review discovery with
25   the defendant, to examine possible defenses and to continue investigating the facts of the case.
26   Specifically, defense counsel recently received from the government more than 108 hours of
27   jail recordings. Also, defense counsel was provided significant amounts of work product from
28   the defendants’ prior attorneys last week.


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     Stipulation and Order to Continue Status Conference
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 1          Accordingly, counsel and the defendants agree that time under the Speedy Trial Act
 2   from the date this stipulation is lodged, through May 24, 2011, should be excluded in
 3   computing time within which trial must commence under the Speedy Trial Act, pursuant to
 4   Title 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), and Local Code T4 [reasonable time for defense
 5   counsel to prepare].
 6   Dated: December 9, 2010                              Respectfully submitted,
 7
                                                          /s/ Michael E. Hansen
 8                                                        MICHAEL E. HANSEN
                                                          Attorney for Defendant
 9                                                        RONALD GROVES
10
     Dated: December 9, 2010                              /s/ Olaf Hedberg
11                                                        OLAF HEDBERG
                                                          Attorney for Defendant
12                                                        DONALD MANN
13
     Dated: December 9, 2010                              U.S. ATTORNEY’S OFFICE
14
15                                                        /s/ Steve Lapham
                                                          STEVE LAPHAM
16                                                        Assistant U.S. Attorney
                                                          Attorney for Plaintiff
17
18
                                                ORDER
19
            IT IS HEREBY ORDERED that the previously-scheduled trial confirmation hearing
20
     date of December 13, 2010 and the previously-scheduled jury trial date of January 11, 2011 be
21
     vacated and the matter set for trial confirmation hearing on May 2, 2011, at 10:00 a.m., and
22
     jury trial on May 24, 2011, at 9:00 a.m. Time is excluded in the interests of justice pursuant to
23
     18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), and Local Code T4.
24
     Dated: December 10, 2010
25
26
27                                            _______________________________________
                                              FRANK C. DAMRELL, JR.
28                                            UNITED STATES DISTRICT JUDGE

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     Stipulation and Order to Continue Status Conference
